           USCA Case #23-3222              United States
                                           Document      Court of Appeals
                                                    #2032101        Filed: 12/18/2023                    Page 1 of 1
                                              District of Columbia Circuit
                                                       333 Constitution Avenue, NW
                                                        Washington, DC 20001-2866
                                               Phone: 202-216-7000 / Facsimile: 202-219-8530


                                        CRIMINAL DOCKETING STATEMENT
                                            (To be completed by appellant)

1.         Appellate Case Number:          23-3222                      1a.      Criminal Action Number: 21-cr-411 (APM)
2.         Case Name:                                        United States v. Stewart Parks
3.         Appellant’s Name:                                      Stewart Parks
           3a. Appellant’s Defendant No:               01                   Appellant’s Fed. Reg. No:          48424-509
4.         Date of Conviction:           May 3, 2023        4a. Date of Sentence:           November 16, 2023
5.         Name of District Court Judge:                                Amit P. Mehta
6.         Date Notice of Appeal Filed:                              November 24, 2023
7.         Offense(s) of Conviction:          18 U.S.C. §§ 1752(a)(1) & (a)(2) Temporary Residence of the President;
           40 U.S.C. §§ 5104(e)(2)(D) & (e)(2)(G) Violent Entry and Disorderly Conduct on Capitol Grounds
           18 U.S.C. § 641 Theft of Government Property
8.         Did appellant plead guilty?                                  ☐ Yes ☒ No
9.         What sentence was imposed?                 8 months’ incarceration; 12 months’ S/R; $95.00 S/A
10.        How much of the sentence has appellant served?                                   Unknown
11.        Is appellant challenging the conviction?                     ☒ Yes ☐ No
12.        Is appellant challenging the sentence?                       ☒ Yes ☐ No
13.        Has appellant filed a post-conviction motion?                ☐ Yes ☒ No
           If yes, what motion, date filed, and disposition:
14.        Is appellant incarcerated?                                   ☐ Yes ☒ No
           If yes, where:
           If no, address and phone number:
15.        Has appellant moved for release pending appeal in District Court?                     ☐ Yes ☒ No
           If yes, date filed and disposition:
           If no, does defendant intend to file such a motion in the District Court?             ☐ Yes ☒ No
16.        Will appellant file a motion for release pending appeal in court of appeals?          ☐ Yes ☒ No
17.        Did appellant have court-appointed counsel in District Court?                         ☒ Yes ☐ No
18.        Does counsel appointed in District Court wish to continue on appeal?                  ☐ Yes ☒ No
19.        Did defendant have retained counsel in District Court?                                ☐ Yes ☒ No
           If yes, will case proceed on appeal with retained counsel?                            ☐ Yes ☒ No
           If no, will appellant seek appointment of counsel on appeal?                          ☒ Yes ☐ No
           If no, has a motion to proceed in forma pauperis been filed?                          ☐ Yes ☒ No [FPD appointed]
20.        Has counsel ordered transcripts?                                                      ☒ Yes ☐ No
21.        If yes, from what proceedings:       6/9, 6/25, 8/31, 11/5/21, 1/18, 5/31, 6/30/22, 1/19, 5/1, 5/2, 5/3, 11/16/23
22.        If yes, when will transcripts be completed?                         Unknown
23.        Did counsel seek expedited preparation of sentencing transcripts?                      ☐ Yes ☒ No

           Signature                    /s/                                    Date        December 18, 2023
           Name of Party (Print)                            Stewart Parks
           Name of Counsel (Print)                         Tony Axam, Jr.
           Firm Address Federal Public Defender - 625 Indiana Avenue, N.W., Suite 550, Washington, DC 20004
           Phone No.             (202) 208-7500                 Fax No.         (202) 208-7515

Note:      In all appeals of sentences of 8 months or less trial counsel is required to prosecute the appeal of the sentence. If
           counsel for any other party believes that the information submitted is inaccurate or incomplete, counsel may so
           advise the Clerk within 7 calendar days by letter, with copies to all other parties, specifically referring to the
           challenged statement. Attach a certificate of service to this form.
USCA Form 43
August 2009 (Revised)
